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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION



IN RE: ETHICON, INC. PELVIC REPAIR                            Master File No. 2:12-MD-02327
SYSTEM PRODUCTS LIABILITY                                             MDL No. 2327
LIGITATION

                                                                  JOSEPH R. GOODWIN
THIS DOCUMENT RELATES TO                                          U.S. DISTRICT JUDGE
PLAINTIFFS:

Carolyn Lewis (2:12-cv-04301)

Judy Brown (2:12-cv-07314)




                      PRETRIAL ORDER #_____
            AGREED ORDER AND STIPULATION REGARDING
 PATHOLOGY PROTOCOL FOR PRESERVATION AND TESTING OF EXPLANTS
   AND TISSUE SAMPLES TAKEN FROM PLAINTIFFS AND HANDLING OF
    PLAINTIFFS’ PATHOLOGY SLIDES IN BELLWETHER GROUP 1 CASES

       Counsel for the parties having consented hereto,

       IT IS on this ____ day of _________, 2013, ORDERED that:

       1.      To the extent that explanted mesh or removed pelvic floor tissue (the “Materials”) exist

   for any Bellwether Group 1 Cases specifically referenced herein above, which are set for trial January

   14, 2014 (herein after “Bellwether Group 1 Cases”), unless the Materials have already been obtained,

   such Bellwether Plaintiff will obtain the Materials from the medical facilities currently in possession

   of the Materials, and will maintain the Materials in an appropriate manner that preserves them for

   examination, testing and use by both parties. Plaintiffs will notify Defendants when the materials are

   requested, and shall notify Defendants within seven (7) business days of Plaintiffs obtaining the

   Materials. The notification shall confirm the type and number of materials obtained, the facility from

   which the materials were received and the date of the procedure from which the Materials were




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   obtained. If the date of the procedure is unknown, Plaintiffs take all reasonable steps to obtain the

   date of the procedure and to provide Defendants with such information immediately upon receipt.

   The parties agree that Plaintiffs and Defendants shall document the chain of custody for all Materials

   using the form attached as Exhibit A. A copy of the chain of custody shall be provided to the other

   party upon request.

       2.       To the extent that Materials have already been requested and obtained by Bellwether

   Group 1 Plaintiffs, within ten (10) days of this Order, agree to provide to Defendants the type and

   number of materials obtained, the name of the facility from which the materials were received and the

   date of the procedure from which the Materials were obtained. If the date of the procedure is

   unknown, Plaintiffs shall take all reasonable steps to obtain the date of the procedure and to provide

   Defendants with such information as soon as practicable upon receipt. Plaintiffs will also provide

   chain of custody information for such Materials that are already in possession of Plaintiffs or

   Plaintiffs’ representative.

       3.       Plaintiffs in the Bellwether Group 1 Cases agree to preserve at least one-half of the

   Materials in the form received from the medical facility for use by Defendants as they see fit and to

   photograph the Materials prior to dividing the Materials in half.

                a.       In the event that any of the Materials are less than 120mg in mass of a

            representative sample of mesh and surrounding tissue (herein after “Small Sample”), this

            shall be considered too small to be divided equally among the parties. In the event of a Small

            Sample, the parties agree to meet and confer and attempt to arrive at a mutually agreeable

            protocol as to that specific explanted mesh or tissue sample. Neither party will perform any

            review, analysis, or testing on the Small Sample or alter the Small Sample in any way prior

            to reaching a mutually agreeable protocol. In the event no agreement can be reached, the

            parties will seek the Court’s guidance.

                b.       If in the course of dividing the Materials to preserve at least one-half for use by

            Defendants, it becomes impossible to provide Defendants with Materials that can be used in


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            the same manner that Plaintiffs are able to use their half of Materials, Plaintiffs will

            immediately notify Defendants. The parties agree to meet and confer and attempt to arrive

            at a mutually agreeable protocol as to the Materials. Neither party will perform any review,

            analysis, or testing on the Materials or alter the Materials in any way prior to reaching a

            mutually agreeable protocol. In the even that no agreement can be reached, the parties will

            seek the Court’s guidance.

               c.       Paragraphs 3a and 3b shall only apply if the amount of the Materials is such that

            it cannot be divided in a manner that would permit analysis of a representative sample of

            mesh and surrounding tissue by both parties, and shall not operate to restrict Plaintiffs’

            utilization of the Materials under any other circumstances not stated within this Order.

       4.      Plaintiffs in the Group 1 Bellwether Cases agree to provide Defendants with any slides

   obtained from pathology preserved (the “Slides”) within seven (7) business days after Plaintiffs’

   experts have reviewed the Slides. Plaintiffs will maintain the Slides in an appropriate manner that

   preserves them for examination, testing and use by both parties. To the extent Plaintiffs request

   additional slides be cut from the pathology block for any given procedure for use by Plaintiffs’

   experts to stain as they require, Plaintiffs in the Group 1 Bellwether Cases agree to ensure duplicate

   stained slides are created for use by Defendants. To the extent Defendants require additional slides be

   cut from the pathology block for any given procedure, Defendants will make such request to Ethicon

   MDL Plaintiffs’ counsel Ben Anderson, Jeff Kuntz and/or such other MDL Plaintiffs’ counsel that

   Messrs. Anderson and Kuntz shall designate. Plaintiffs’ counsel shall make such request of the

   facility maintaining the pathology block and request duplicate stained slides for both parties with each

   party to bear its own costs of such recut and duplication. The parties agree that Plaintiffs will provide

   Defendants all slides (originals and/or re-cuts) reviewed by Plaintiffs’ experts within seven (7)

   business days of Plaintiffs’ experts’ review and analysis of the slides and that Defendants will do the

   same with regard to slides reviewed by Defendants’ experts.




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        5.       This order specifically authorizes and directs any institution in possession of any

    Materials for a Bellwether Case to provide the Materials to Plaintiffs’ counsel when requested,

    assuming Healthcare Insurance Portability and Accountability Act requirements are otherwise

    satisfied.



        6.       Nothing herein shall be construed to limit or constrain the ability of healthcare providers

    to do what is necessary for the care and treatment of a Plaintiff.


    The Court hereby accepts the stipulation of the parties. The court DIRECTS the Clerk to file a copy

of this order in 2:12-md-2327 and it shall apply to the Bellwether Group 1 cases set for trial on January

14, 2014, Carolyn Lewis, et al. v. Johnson & Johnson, et al.,(2:12-cv-04301), Judy Brown, et al. v.

Ethicon, Inc., et al., (2:12-cv-07314). In cases subsequently filed in this district, a copy of the most recent

pretrial order will be provided by the Clerk to counsel appearing in each new action at the time of filing of

the complaint. In cases subsequently removed or transferred to this court, a copy of the most recent

pretrial order will be provided by the Clerk to counsel appearing in each new action upon removal or

transfer. It shall be the responsibility of the parties to review and abide by all pretrial orders previously

entered by the court. The orders may be accessed through the CM/ECF system or the court's website at

www.wvsd.uscourts.gov.

                                                    ENTER: ______________, 2013




                                                    JOSEPH R. GOODWIN
                                                    UNITED STATES DISTRICT JUDGE

APPROVED:

/s/Bryan F. Aylstock

/s/Tom P. Cartmell



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/s/D. Renee Baggett

ATTORNEYS FOR PLAINTIFFS



/s/Christy D. Jones

/s/David Thomas

ATTORNEYS FOR ETHICON, INC.
AND JOHNSON & JOHNSON




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                            PATHOLOGY CHAIN OF CUSTODY

Material Originating from _____________________________________
Regarding:
_______________________________________

Received and/or transferred as indicated, _______________________________ described as
follows:

SLIDES/EXPLANTS

1.     [Identify each specimen by date, type, appearance and any identifying number. If a
pathology slide, identify original or recut and stained or unstained]



FROM: [identify sender by name and address]
                                     _____________________________________________
                                                                       SIGNATURE
                                     _____________________________________________
                                                                             DATE

TO:     [identify receiving party by name and address
                                        _____________________________________________
                                        SIGNATURE
                                        _____________________________________________
                                                                                DATE


FROM: [identify sender by name and address
                                     ____________________________________________
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                                     _____________________________________________
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TO:     [identify receiving party by name and address
                                        _____________________________________________
                                                                          SIGNATURE
                                        _____________________________________________
                                                                                DATE




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